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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
   !
   !
   UNITED STATES OF AMERICA,
   !
            Plaintiff,
       !
   vs.                                         Case No. 15-cr-20652
                                               Hon. George Caram Steeh
                                               Mag. David R. Grand
   !
   COREY BAILEY (D-4),
   ROBERT BROWN, II (D-6),
   ARLANDIS SHY, II (D-13),
   KEITHON PORTER (D-19),
   !
   !
             Defendants.
   _____________________________________________________________
   !
   !
             DEFENDANTS’ MOTION TO VACATE CONVICTIONS
                         UNDER 18 USC 924(c)
   !
   !
         The Defendants move this Honorable Court to vacate their convictions under

   18 USC 924(c), because the language used in the jury instruction for Count 32 of

   the Indictment, based on 18 USC 924(c)(3)(B), was unconstitutionally vague and

   denied the Defendants due process under the reasoning and decisions of the U.S.

   Supreme Court in Johnson v United States, ___US___; 135 S Ct 2551; 192 L Ed

   2d 569 (2015), and Sessions v Dimaya, ___US___; 138 S Ct 1204; 200 L Ed 2d

   549 (2018).

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   !
   !
   !
                          Certificate Regarding Concurrence
   !
   !
   !
         I certify and affirm, in compliance with E.D. Mich. LR 7.1(a)(2)(B), that

   despite reasonable efforts specified in the motion or request, the movant was

   unable to conduct a conference.

   !
                                             !
                                     By: s/Mark H. Magidson
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                         BRIEF IN SUPPORT OF
              DEFENDANTS’ MOTION TO VACATE CONVICTIONS
                          UNDER 18 USC 924(c)
   !
   !
   !
   !
                                          FACTS
   !
   !
          Trial began in this case on June 19, 2018, and the jury returned its verdicts

   on August 28, 2018. (Verdict Form, Doc. 1168).

          The Defendants were charged in the Sixth Superseding Indictment (Doc.

   812) with the following count:

       • Count 32 – possession of a firearm in furtherance of a crime of violence, 18

         USC 924(c); as a principal or aider and abettor, 18 USC 2.


          This Court read the following jury instruction for possession of a firearm in

   furtherance of a crime of violence:

          (1) Count Thirty-Two of the indictment charges Eugene Fisher, Corey
          Bailey, Robert Brown II, Arlandis Shy, and Keithon Porter, with violating
          federal law by possessing a firearm in furtherance of a crime of violence, or
          aiding and abetting that offense. For you to find a defendant guilty of this
          crime, you must find that the government has proved each and every one of
          the following elements beyond a reasonable doubt:
          !
                First: the defendant committed the RICO conspiracy charged in Count
                One;
                !
                Second: the defendant knowingly possessed a firearm;
                !
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               Third: the possession of the firearm was in furtherance of the RICO
               conspiracy charged in Count One;
               !
               Fourth: at least one of the racketeering acts committed in furtherance
               of the enterprise involved a substantial risk that physical force may
               be used against the person or property of another. (Emphasis
               added). [Jury Inst., Doc. 1159, Pg ID # 15076.]
   !
         The jury’s verdict form provided the following for count 32:

                      With respect to the charge of possession of a firearm in
               furtherance of a crime of violence in Count One (RICO Conspiracy),
               we, the jury, unanimously find:
               !
               [Defendant]    Not Guilty _____        Guilty _____

               [Verdict Forms, Doc. 1166, Pg ID # 15263; Doc. 1168, Pg ID #
               15272; Doc., 1170, Pg ID # 15282; Doc. 1172, Pg ID # 15292]
               !
   !
         The Defendants argue that the language in the fourth element is

   unconstitutionally vague because it relies on language from 18 USC 924(c)(3)(B),

   and that same language has been held to be unconstitutionally vague by the U.S.

   Supreme Court in two other similar federal codes. Johnson v United States,

   ___US___; 135 S Ct 2551; 192 L Ed 2d 569 (2015); Sessions v Dimaya,

   ___US___; 138 S Ct 1204; 200 L Ed 2d 549 (2018).

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   !
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                                     ARGUMENT

   !
         In Johnson v United States, ___US___; 135 S Ct 2551; 192 L Ed 2d 569

   (2015), the U.S. Supreme Court considered the definition of a “violent felony”

   under 18 USC 924(e)(2)(B), which defines a violent felony to include any felony

   that “involves conduct that presents a serious potential risk of physical injury

   to another.” (Emphasis added). Johnson, 135 S.Ct. at 2555. The Court held that

   “the indeterminacy of the wide-ranging inquiry required by the residual clause both

   denies fair notice to defendants and invites arbitrary enforcement by judges.

   Increasing a defendant’s sentence under the clause denies due process of law.” Id.

   at 2557.


         In this case, the Defendants were charged with possession of a firearm in

   furtherance of a crime of violence. The jury was required to determine whether the

   underlying offense was a crime of violence. The term “crime of violence” means

   an offense that is a felony and

         (A) has as an element the use, attempted use, or threatened use of physical
         force against the person or property of another, or
         !
         (B) that by its nature, involves a substantial risk that physical force
         against the person or property of another may be used in the course of
         committing the offense. (Emphasis added.) [18 USC 924(c)(3).]
   !
   !
         In 2016, the U.S. Sixth Circuit Court of Appeals held that the residual clause



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   of 18 USC 924(c)(3)(B) was not unconstitutionally vague under the reasoning of

   Johnson. United States v Taylor, 814 F3d 340, 375-76 (6th Cir. 2016).

         However, in 2018, the U.S. Supreme Court decided Sessions v Dimaya,

   ___US___; 138 S Ct 1204; 200 L Ed 2d 549 (2018). In Dimaya, the Court

   considered the definition of an “aggravated felony” under the Immigration and

   Nationality Act (INA). Id. at 1210. Under the act, an aggravated felony includes a

   “crime of violence.” Id. at 1211. A crime of violence under the INA is defined as

         (a) an offense that has as an element the use, attempted use, or threatened
         use of physical force against the person or property of another, or
         !
         (b) any other offense that is a felony and that, by its nature, involves a
         substantial risk that physical force against the person or property of
         another may be used in the course of committing the offense. (Emphasis
         added). [18 USC 16.]
   !
   !
         It was section 16(b), the residual clause, that was at issue in Dimaya. Id. The

   Court held that the residual clause was unconstitutionally vague. Id. at 1204. The

   Court relied on its prior decision in Johnson to support its holding:

                Three Terms ago, in Johnson v. United States, this Court held that part
         of a federal law’s definition of “violent felony” was impermissibly vague.
         The question in this case is whether a similarly worded clause in a statute’s
         definition of “crime of violence” suffers from the same constitutional defect.
         Adhering to our analysis in Johnson, we hold that it does. [Dimaya, 138 S
         Ct at 1210 (citations omitted).]

                                            * * *
               In sum, §16(b) has the same “[t]wo features” that “conspire[d] to
         make [ACCA’s residual clause] unconstitutionally vague.” [Johnson,] 135 S.
         Ct. 2551, 192 L. Ed. 2d 569, 578. It too “requires a court to picture the kind
         of conduct that the crime involves in ‘the ordinary case,’ and to judge

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         whether that abstraction presents” some not-well-specified-yet-sufficiently-
         large degree of risk. The result is that §16(b) produces, just as ACCA’s
         residual clause did, “more unpredictability and arbitrariness than the Due
         Process Clause tolerates.” [Dimaya, 138 S Ct at 1216 (citations omitted).]
         !
         !
         A District Court in Tennessee has noted that the Sixth Circuit’s decision in

   Taylor is called into question after the Supreme Court’s later Dimaya decision:

         As Warrick acknowledged, the Sixth Circuit previously rejected the
         argument that the residual clause of § 924(c)(3)(B) is unconstitutionally
         vague under Johnson. United States v. Taylor, 814 F.3d 340, 379 (6th Cir.
         2016) (finding "several factors distinguish the [ACCA's] residual clause
         from § 924(c)(3)(B)" and therefore, the "argument that Johnson effectively
         invalidated § 924(c)(3)(B) is accordingly without merit"). However, while
         Warrick's motion was pending, the Supreme Court decided Sessions v.
         Dimaya, 138 S. Ct. 1204, 200 L. Ed. 2d 549 (2018), holding the residual
         clause of 18 U.S.C. § 16, which uses language identical to § 924(c)(3)(B) to
         define "crime of violence," was unconstitutionally vague. Dimaya, 138 S.
         Ct. at 1216. The government concedes that the constitutionality of the
         residual clause of § 924(c)(3)(B) and whether Taylor remains good law in
         light of Dimaya are open questions in the Sixth Circuit. (Gov. Suppl.
         Resp. (Dkt. No. 20) at 1.) See also United States v. Richardson, No. 17-2157,
         __ F.3d __, 2018 U.S. App. LEXIS 28637, 2018 WL 4924782, at *5 (6th Cir.
         Oct. 11, 2018) ("Nevertheless, we leave the continuing viability of Taylor to
         another day.").
         !
         [Warrick v United States, ___F Supp 3d___ n 2; 2018 U.S. Dist. LEXIS
         191478, at *6 (M.D. Tenn., Nov. 7, 2018)(see attached unpublished
         opinion).]
   !
         There is a case pending before the U.S. Supreme Court that presents this

   same issue: “Whether the subsection-specific definition of ‘crime of violence’ in

   18 USC 924(c)(3)(B), which applies only in the limited context of a federal

   criminal prosecution for possessing, using, or carrying a firearm in connection with

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   acts comprising such a crime, is unconstitutionally vague.” US v. Maurice Lamont

   Davis, et al, Docket No. 18-431, Government’s Petition for Writ of Certiorari (filed

   October 3, 2018).

         US v. Davis was a Fifth Circuit Court case from the Northern District of

   Texas. Originally, the Fifth Circuit denied the defendants’ challenge to their

   convictions under 18 USC 924(c). United States v Davis, 903 F3d 483, 484 (5th

   Cir. 2018). The defendants in Davis petitioned the Supreme Court for certiorari,

   and following its decision in Sessions v. Dimaya, the Court remanded the

   petitioners’ case "for further consideration" in light of Dimaya. Davis, 903 F.3d at

   484 (quoting Davis v. United States, 138 S. Ct. 1979, 1979-80, 201 L. Ed. 2d 239

   (2018)).

         On remand, the Fifth Circuit held that the residual clause in 924(c)(3)(B)

   was unconstitutionally vague:

         The Supreme Court rested its decision in Dimaya on its concerns about the
         language of the statute itself. Although § 16(b) contained linguistic
         differences to the Armed Career Criminal Act ("ACCA") residual clause the
         Court had previously invalidated in Johnson v. United States, 135 S. Ct.
         2551, 192 L. Ed. 2d 569 (2015), it noted that each statute contained "both an
         ordinary-case requirement and an ill-defined risk threshold," and this
         "'devolv[ed] into guesswork and intuition,' invited arbitrary enforcement,
         and failed to provide fair notice." Dimaya, 138 S. Ct. at 1223 (alteration in
         original) (quoting Johnson, 135 S. Ct. at 2559). Because the language of the
         residual clause here and that in §16(b) are identical, this court lacks the
         authority to say that, under the categorical approach, the outcome would not
         be the same. We hold that § 924(c)'s residual clause is unconstitutionally
         vague. Therefore, Defendants' convictions and sentences under Count Two
         must be vacated. [United States v Davis, 903 F3d 483, 486 (5th Cir. 2018).]
   !
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   !
         The government then filed a petition for writ of certiorari to the Supreme

   Court, which was granted. As the Fifth Circuit noted in Davis, the language of

   §16(b) at issue in Dimaya and the residual clause in § 924(c)(3)(B) is identical, and

   the Supreme Court’s reasoning and decision in Dimaya is controlling.

         In this case, the jury was instructed to determine whether the government

   had proved that the Defendants possessed a firearm in furtherance of a crime of

   violence. The jury instruction used the unconstitutionally vague language in §

   924(c)(3)(B):

         For you to find a defendant guilty of this crime, you must find that the
         government has proved each and every one of the following elements
         beyond a reasonable doubt:
         !
                                             * * *
                !
                Fourth: at least one of the racketeering acts committed in furtherance
                of the enterprise involved a substantial risk that physical force may
                be used against the person or property of another. (Emphasis
                added). [Jury Inst., Doc. 1159, Pg ID # 15076.]
   !
         Under the Supreme Court’s holdings in Johnson and Dimaya, the

   defendants’ convictions under 18 USC 924(c) must be vacated because the jury

   was erroneously instructed to use the unconstitutionally vague residual clause to

   determine whether the government proved a crime of violence.


         Additionally, in the case of Defendant Arlandis Shy, II, the jury only found


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  that he had conspired with another conspirator to assault rival gang members with

  intent to murder. (Verdict, Doc. 1168, Pg ID # 15269). Shy was acquitted of

  committing any of the other specific acts against Dvante Roberts, Marquis Wicker,

  Darrio Roberts, or Jesse Ritchie. Id. A “conspiracy to commit an offense is merely

  an agreement to commit an offense. United States v Davis, 903 F3d 483, 485 (5th

  Cir. 2018)(citing United States v. Gore, 636 F.3d 728, 731 (5th Cir. 2011).


        Here, as in Davis, the conspiracy Shy was found to be involved in “does not

  necessarily require proof that a defendant used, attempted to use, or threatened to

  use force.” Davis, 903 F.3d at 485. Shy’s conspiracy, or agreement, did not involve

  the use of force, attempted or threatened. That means that Shy could only have

  been convicted as to Count 32 under the unconstitutional residual clause in §

  924(c)(3)(B).


  !
  !
        WHEREFORE, the Defendants move this Honorable Court to vacate their

  convictions under 18 USC 924(c), because the language used in the jury instruction

  for Count 32 of the Indictment, based on 18 USC 924(c)(3)(B), was

  unconstitutionally vague.

  !
        Dated: March 29, 2019
  !
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  !
        Respectfully submitted,
  !
  !
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                                        !
                                        !
                                        !
                             CERTIFICATE OF SERVICE
                                        !
                                        !
        I certify that on March 29, 2019, I electronically filed the above Motion with

  the Clerk of the Court using the CM/ECF system, which will send notification of

  such filing to the parties of record.

  !
                                          By: s/Mark H. Magidson
                                          MARK H. MAGIDSON (P25581)
                                          Attorney for Defendant Shy (D-13)




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